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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

ALEXIS OWENS                                                         CIVIL ACTION

VERSUS                                                               NO. 20-389-JWD-SDJ

ANDREW SAUL


                                            OPINION

       After independently reviewing the entire record in this case and for the reasons set forth in

the Magistrate Judge's Report dated May 11, 2022, (Doc. 9), to which no objection was filed;

       IT IS ORDERED that the Motion to Dismiss for Insufficient Service of Process and Lack

of Personal Jurisdiction (Doc. 6), filed by Defendant, Kilolo Kijakazi, Acting Commissioner of

Social Security, is DENIED without prejudice, to be refiled in the event Plaintiff does not timely

effectuate service within the extended time period.

       In accordance with the Report and Recommendation issued by Magistrate Judge Johnson

(Doc. 9), IT IS FURTHER ORDERED that Plaintiff is given an additional 21 days from the date

of this Opinion, to effect proper service on the United States Attorney General and to file proof of

such service in the record. The previously issued Scheduling Order (Doc. 5) remains in effect.

       Plaintiff is hereby notified that failure to timely comply with this Opinion may result

in the dismissal of her Complaint without further notice.

       Signed in Baton Rouge, Louisiana, on June 24, 2022.




                                                      S
                                         JUDGE JOHN W. deGRAVELLES
                                         UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF LOUISIANA
